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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                   Plaintiff,
                                                    Case No. 21-cr-00207 (DCJ)
      v.


CRYSTAL MARIE HAWORTH,

                   Defendant.


                       NOTICE OF INSANITY DEFENSE

      Crystal Haworth, through counsel, provides notice of intent “to assert a defense

of insanity at the time of the alleged offense.” Fed. R. Crim. P. 12.2(a); 18 U.S.C.

§ 4242(a).

                                       Respectfully Submitted,

                                       FEDERAL COMMUNITY DEFENDER

                                       s/ Colleen P. Fitzharris
                                       Attorney for Crystal Marie Haworth
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                                       Detroit, MI 48226
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Date: April 14, 2022
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                         CERTIFICATE OF SERVICE

      I certify that on April 14, 2022, the foregoing document was filed using the

CM/ECF system which will notify all parties of record.


                                      s/Colleen P. Fitzharris
